                                                                                ORDER:
                                                                                Motion granted. The
                                                                                Detention Hearing is reset to
                                                                                Friday, November 16, 2012,
                             UNITED STATES DISTRICT COURT                       at 10:30 a.m.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION
                                                                                U.S. Magistrate Judge

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )       No. 3:09-00240-26
       v.                                            )
                                                     )       Magistrate Judge Knowles
JAMES CAMPBELL                                       )


                 UNITED STATES’ MOTION TO CONTINUE HEARING

       Comes now the United States and requests the detention hearing for this defendant, which

is currently set for today, November 7, 2012, be continued. Co-counsel for the government,

Assistant U.S. Attorney Sunny A.M. Koshy, is currently in trial in Judge Trauger’s court in the

case entitled U.S. v. Travis Gentry, et al., 3:11-CR-00082. This trial is expected to last through

Friday, November 9, 2012.



                                              Respectfully submitted,

                                              JERRY E. MARTIN
                                              UNITED STATES ATTORNEY


                                      BY:       s/Lynne T. Ingram
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Case 3:09-cr-00240        Document 1424         Filed 11/08/12      Page 1 of 1 PageID #: 5688
